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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE ij§ fig -'? 954 i g g 7
Western Division w ' a ii

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05cr20206-D

REGINALD BERNARD SELLERS

 

ORDER OF DETENTION PENDING TRIAL
FINDlNGS
ln accordance With the Bail Reforrn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S .C.
§ 3142(g) as stated on the record in open court at the detention hearing

D|RECT|ONS REGARD|NG DETENT|ON

REGINALD BERNARD SELLERS is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appea]. REGINALD BERNARD SELLERS shall be afforded
a reasonable opportunity for private consultation with defense counsel On order of a Court of the United States or on
request of an attorney for the govemrnent, the person in charge of the corrections facility shal ` '*
to the United States marshal for the purpose of an appearance in connection with a

  
  

 

Date: June 3, 2005

 

 

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UNITED sTAras MAGrsTRArE rUDGE

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This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20206 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

PDA

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Honorable Bernice Donald
US DISTRICT COURT

